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                     IN THE UNITED STATES COURT OF APPEALS
                             FOR THE SIXTH CIRCUIT

BRENDAN BERGER,

                   Plaintiff-Appellee,

       v.                                            No. 19-3885

NATIONAL BOARD OF MEDICAL
EXAMINERS,

                   Defendant-Appellant.


       EXPEDITED MOTION FOR AN EXTENSION OF BRIEFING SCHEDULE

       Defendant-Appellant National Board of Medical Examiners (“NBME”) respectfully

requests a 60-day extension for the filing of each party’s opening brief to allow the district court

time to rule on a motion that may moot the instant appeal. NBME’s brief is currently due on April

3. Plaintiff-Appellee Brendan Berger’s (“Berger”) brief is currently due on May 6, 2020. In light

of the upcoming brief deadlines, NMBE requests an expedited ruling on the instant motion.

       On March 6, 2020, NBME filed a Motion to Lift Stay and to Vacate the Court’s Preliminary

Injunction of August 27, 2019 (Doc. 42) (the “Motion”), attached hereto as Exhibit A. The district

court’s preliminary injunction was based upon a finding that Berger would suffer irreparable harm

if he could not take the United States Medical Licensing Examination (USMLE) Step 2 CK exam

last Fall with double the testing time afforded to other examinees. During the expedited

preliminary injunction hearing and motion practice, Berger argued that, to avoid his alleged

irreparable harm, it was essential that he test by August 28, 2019, so that he could participate in

the 2020 National Residency Matching Program (“Match”).

       In light of new facts, NBME’s Motion requests that the district court vacate the preliminary

injunction. Specifically, six months have passed since the district court granted Berger’s motion
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for preliminary injunction. Berger, however, has yet to take the USMLE Step 2 CK exam. He is

currently scheduled to take Step 2 CK on March 21 and 23, 2020, which is after the deadline for

late registration for the 2020 Match (which occurs in March 2020) and for verifying eligibility

credentials, including passage of the Step 2 CK exam. Thus, he will not be participating in the

2020 Match.

       Preliminary injunctions are supposed to be “drastic” and “extraordinary” remedies, granted

only to prevent imminent and non-speculative irreparable harm, and only upon a “clear showing

that the plaintiff is entitled to such relief.” See Winter v. Nat’l Res. Def. Council, 555 U.S. 7, 22

(2008). NBME’s Motion argues that the new, post-ruling facts regarding Berger’s testing schedule

demonstrate that Berger faced no irreparable harm if he did not take the Step 2 CK exam last Fall.

Contrary to what he alleged and what the district court relied upon in granting him a mandatory

preliminary injunction, he did not risk irreparable harm if he did not participate in the 2020 Match

and he faces no such irreparable harm now. The preliminary injunction should, therefore, be

vacated and the parties should proceed with discovery in the district court. NBME has requested

an indicative ruling to this effect from the district court pursuant to Fed. R. Civ. P. 62.1(a)(3).

       The primary issue in this appeal is whether the district court improperly granted the August

27, 2019 preliminary injunction in Berger’s favor. (See Doc. 8 at PageID 1). If the district court

states that it would vacate the preliminary injunction upon a remand for that purpose from this

Court, the appeal will become moot. A 60-day extension of the briefing schedule should allow for

motion practice and a decision on the Motion in the district court. Berger will not be prejudiced

by the requested extension, because he will able to take the Step 2 CK exam in the meantime with

the accommodations awarded in the preliminary injunction (recognizing, of course, that his score




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might later be invalidated because the district court vacates the preliminary injunction as having

been improvidently granted, or because this Court vacates the preliminary injunction on appeal).

       For the foregoing reasons, NBME respectfully requests that the Court enter the following

extended briefing schedule:

                                  Current Deadline       Proposed Extended Deadline
        Appellant’s Brief         April 3, 2020          June 2, 2020
        Appellee’s Brief          May 6, 2020            July 6, 2020

Plaintiff has indicated that he will oppose any extension of the briefing schedule.


 Dated: March 11, 2020                         Respectfully submitted,

                                               /s/ Erin D. French
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that, on the 11th day of March 2020, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system, which will send a notice of

electronic filing to all counsel of record.

                                              /s/ Erin D. French
                                              Erin D. French




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